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                     UNITED STATES DISTRICT COURT
                      DISTRICT OF SOUTH DAKOTA
                          SOUTHERN DIVISION


MATTHEW THOMAS HOUFF,                              4:22-CV-04070-KES

                   Movant,

                                                       JUDGMENT
      vs.

UNITED STATES OF AMERICA,

                   Respondent.


      Under the Order Adopting the Report and Recommendation in Full and

Granting Respondent’s Motion to Dismiss, it is

      ORDERED, ADJUDGED, AND DECREED that judgment is entered in

favor of respondent and against movant, Matthew Thomas Houff.

      Dated December 28, 2022.

                                    BY THE COURT:

                                    /s/ Karen E. Schreier
                                    KAREN E. SCHREIER
                                    UNITED STATES DISTRICT JUDGE
